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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
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UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                           Case No. 2:24-cr-20045-MSN-1

CALVIN WATKINS,

       Defendant.

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                        ORDER TRANSFERRING CASE
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       The undersigned Court requests that this case be reassigned to the Honorable Judge

Thomas L. Parker. Accordingly, the Clerk is directed to reassign this case to United States District

Judge Thomas L. Parker.

       IT IS SO ORDERED, this 26th day of June, 2025.

                                                     s/ Mark S. Norris
                                                     MARK S. NORRIS
                                                     UNITED STATES DISTRICT JUDGE
